               Perrylvania , oww so allows




                                                                       tite
Case 8:21-cv-01736-TDC Document 95-13 Filed, 09/06/23 Page 1 of 6




                                                                       ,
                                                                   1
           ACTS OF ASSEMBLY



                             RELATING TO




      FAIRMOUNT PARK
                                                                  ..
                                    1867
                            of




                        PHILADELPHIA
                                                :




        KING       BAIRD PRINTERS       No. 607 SANSOM   STREET
               &




                       ,




                                    ,




                                                              ,




                               1870
                                        .




                                                                  10
Case 8:21-cv-01736-TDC Document 95-13 Filed 09/06/23 Page 2 of 6




                                                  A SUPPLEMENT




                                                                                                for
                  To an Act , entitled “ An Act appropriating ground   public purposes




                                                                                                                       of ,
                       the City        Philadelphia   approved the twenty sixth day
                                       of
                    in




                                                             ”,




                                                                                                      -
                   March       Anno Domini one thousand eight hundred and sixty seven
                           ,




                                                                                                             -


                                                                                                                       .
                                                                               the
                                                                         by




                                                                                                                       of
                       SECTION              Be        enacted                        Senate and House
                                   1.


                                              of it
                                                      the


                                                                                                    Pennsylvania




                                                                                               of
                  Representatives                            Commonwealth




                                                                                                                  by
                  in




                     General Assembly met and     hereby enacted    the

                                                                               is
                                                                          it
                                                            ,



                                                                  Fair




                                                                                                      of
                  authority   the same That the boundaries
                                 of




                                                              the
                                                      ,




                                 the City    Philadelphia




                                                                                                                 be
                                                                   of


                  mount Park
                                        in




                                                         shall   the
                  following  wit   Beginning       point   the north

                                                                                                    in
                                   to




                                                                              at
                               ,




                                                                                   a
                                              :




                                                                                                                 by
                  easterly line   property owned and occupied
                                        of




                                                                 the
                  Reading Railroad Company near the City bridge over
                                                                      ,




                  the river Schuylkill     the Falls                                      where                 north
                                                            at




                                                                                                      said
                                                                                   by ,




                  easterly line       intersected                                         the line dividing
                                                 is
                                       H. *
                                              [




                                              Duhring from that
                                                                                          of
                                                                                          F.




                  property                                                                      Stoever and
                                 of




                                  extending
                  T.




                                                                 south
                                                                                                      in




                      Johnson                from thence
                                                                                                           a
                                   ;




                                                             ]




                                                                   pro
                                                                                                                its



                  westerly direction upon said dividing line and
                  longation                 the Ford road from thence
                                                                 of




                               the middle
                                  to




                                                                                               ;
                  by




                        line passing through the southeast corner
                                                                                                                       of
                       a




                  Forty ninth and Lebanon streets       George's run
                                                                                          to
                         -




                                                                                                                       ;




                  thence along the several courses               point
                                                                                   of




                                                   said run
                                                                                                           to
                                                                                                           a




                  fourteen hundred and eighty seven and half feet from
                                                                                            aa
                                                                      -




                                the Pennsylvania Railroad measured
                                      of




                  the middle
                                                                                                                       at
                                                                                               ,
                                                                          by




                 right angles thereto                     thence                     straight line through
                                                    ;




                                                                               a




                                                                      Forty third and Hancock
                                                             of




                 the northeast                corner
                                                                               -
                                               by




                                                    Act          April
                                                                          21




                               Amended
                                                          of




                                                                                                           27




                                                                               1869 Sec             page
                           *




                                                                          ,


                                                                                     ,



                                                                                           8,
                                                                                           .




                                                                                                           .
Case 8:21-cv-01736-TDC Document 95-13 Filed 09/06/23 Page 3 of 6




                                                                  18

                   SECT . 19.         The said Park Commissioners shall have
                the power to govern , manage , lay out , plant and orna
                ment the said Fairmount Park , and to maintain the




                                                                                                              all
                same in good order and repair ; and to construct
                proper bridges buildings railways and other improve




                                                                            ,
                                      ,




                                                              ,




                                                                             all
                                                         to
                ments therein and       repress      disorders therein
                                      ,
                under the provisions hereinafter contained




                                                                                           .
                   SECT        20.    That the said Park Commissioners shall
                           .




                have authority     license the laying down and the use
                                               to




                                                                                        of ,
                               years
                                     of




                for   term            from time     time   such passen

                                                                       to
                      a




                                                                                   ,
                                                    ,




                ger railways     they may think will comport with the
                                          as




                                                                                          by
                use and enjoyment                            the public
                                                         of




                                          the said Park




                                                                                                               ,
                upon such terms                             may
                                                    as




                                       said Commissioners         agree




                                                                                                               ;
                 all




                                                      paid into the City
                                                                             be

                       emoluments from which shall
                Treasury
                               .




                   SECT        21.    The said Park shall                     be under the follow
                           .




                ing rules and regulations                  the Park
                                                                                               as


                                        and such others
                                                              ,




                              may
                                                                        to




                Commissioners     from time    time ordain
                                                                                                   :




                           No persons shall turn cattle
                                                                                                               or

                                                                                      goats         swine
                  I.




                                                                                ,



                                                                                               ,




                                    other animals loose into the Park
                              or




                horses
                                                                                               .




                          No persons shall carry fire arms
                                                                                          or
                  II




                                                                shoot birds
                                                                                      ,
                                                                            -
                       .




                                           fifty yards
                                                                                          ,




                                    within
                                                                                                    or
                in




                       the Park                                      throw
                                           or




                                                        thereof
                                     ,
                               or




                stones              other missiles therein
                                                                       .




                      III No one shall cut break                                        anywise injure
                                                                             or
                                                                                   in
                                                                       ,
                                                              ,
                          .




                    deface the trees shrubs plants turf
                 or




                                                                                                   any
                                                                                                         of
                                                                                           or




                                                                                                              the
                                                                  ,




                                                                                      ,
                                                    ,




                                                                             ,




                buildings fences structures     statuary                                            foul any
                                                                       or




                                                                                               or
                                               ,




                                                                                        ,
                                ,




                                         springs within the Park
                                    or




                 fountains
                                                                                  .
Case 8:21-cv-01736-TDC Document 95-13 Filed 09/06/23 Page 4 of 6




                                                      19


         IV . No person shall drive or ride therein at a rate
       exceeding seven miles an hour.

         V. No one shall ride or drive therein , upon any
       other than upon the avenues and roads .

         VI . No coach or vehicle used for hire , shall stand
       upon any part of the Park for the purpose of hire , nor



                                                                      by
                                        for




       except in waiting                      persons taken                     into the Park


                                                                           it




                                                                                                 ,
                                                                                  by
                                                   points designated                   the Com
                   in




       unless            either case
                                              at




       mission
                  .




         VII No wagon
                                                            of




                                                                                or
                                         or




                                              vehicle            burden              traffic shall
              .




              through  the Park except upon such road



                                                                                                 or
       pass
                                                  ,




                                                                 by




                            designated
                                     be




                                         the Park Commis
                      as




       avenue      shall
       sioners for burden transportation
                                                             .




         VIII            No    street     railroad car shall come within the
                  of .




                                                                                 of




      lines    the Park without                            the license                the Park
      Commission
                           .




         IX   No person shall expose any article for sale
              .




       within the Park without the previous license
                                                                                            of




                                                      the
       Park Commission
                                  .
         X.




                                                             ice




             No person shall take       from the Schuylkill
       within the Park without the license of the said Com
                                     upon such terms                       they may think
                                                                      as




      mission first had
                                 ,




      proper
              .




         XI No threatening abusive insulting
                                                                                  or




                                                                                          indecent
                                                                            ,
                                              ,




                                                            ,
              .




                                be




                                                           the Park
                                                      in




      language shall                 allowed
                                                                      .




         XII No gaming shall
                                                      be




                                              allowed therein nor any
                                                                                      ,
              .

                      or




      obscene              indecent act therein
                                                            .
Case 8:21-cv-01736-TDC Document 95-13 Filed 09/06/23 Page 5 of 6




                                                         20


                  XIII        .    No person          shall go in to bathe within the
                Park .

                  XIV . No person shall fish or disturb the water - fowl
                in the pool , or any pond , or birds in any part of the
                Park , nor discharge any fire - works therein , nor affix
                any bills or notices therein .

                   XV . No person shall have any musical , theatrical ,
                or other entertainment therein , without the license of
                the Park Commissioners .


                  XVI . No person shall enter or leave                            the Park
                except by such gates or avenues                         as may be for such
                purpose arranged .

                      XVII . No gathering or meeting of any kind , as
                sembled  through advertisement , shall be permitted in
                the Park without the previous permission of the Com
                                                                                             politi
                                                                                       for
                mission ; nor shall any gathering or meeting
                cal purposes                                       permitted     under any
                                                              be




                                                the Park
                                           in




                circumstances
                                          .




                      XVIII That
                                                no




                                                                                                  al

                                              intoxicating liquors
                                                                                             be




                                                                               shall
                                  .




                lowed             be sold within said Park
                          to




                                                                    .




                                          Any person who shall violate any
                                                                                        of




                      SECT 22.                                                                 said
                         .




                rules and regulations and any others which shall
                                                                                                  be
                                                     ,
                                  of by




                                                                                 for




                ordained     the said Park Commissioners     the gov
                                                                             ,




                ernment     said Park not inconsistent with this act
                                                     ,




                                                                                                  ,
                                                              of




                   the laws and constitutions  this State and United
                 or




                                            ordain which rules and regula
                         —




                                  the power
                                                 to




                States
                         -




                              hereby expressly given    said Commissioners
                                                                   to




                tions
                         is
Case 8:21-cv-01736-TDC Document 95-13 Filed 09/06/23 Page 6 of 6




                                        23


       force shall be subject to the orders of the Mayor upon
       any emergency ; and so far as said force shall consist
       of others than the hands employed to labor in the
       Park , it shall be appointed and controlled as the other
       police of the City .

          SECT . 28.   [ There    shall be an additional          assistant
       appointed by the City Solicitor , whose duty it shall be ,
       under the direction of the City Solicitor , to attend to
       the assessments of damages , and to such other busi
       ness of a legal nature connected with the Park as said
       Commissioners may require . ] *

          Approved     April 14 , 1868 .

       * Repealed by the 5th section of the Act of January 27, 1870, page 30.
